          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  1 ofPageID#
                                                                    1 of 45   45     5186




                                 EXHIBIT 4
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  2 ofPageID#
                                                                    2 of 45   45     5187
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  3 ofPageID#
                                                                    3 of 45   45     5188
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  4 ofPageID#
                                                                    4 of 45   45     5189
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  5 ofPageID#
                                                                    5 of 45   45     5190
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  6 ofPageID#
                                                                    6 of 45   45     5191
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  7 ofPageID#
                                                                    7 of 45   45     5192
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  8 ofPageID#
                                                                    8 of 45   45     5193
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage  9 ofPageID#
                                                                    9 of 45   45     5194
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    10 of10
                                                                          45ofPageID#
                                                                               45     5195
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    11 of11
                                                                          45ofPageID#
                                                                               45     5196
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    12 of12
                                                                          45ofPageID#
                                                                               45     5197
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    13 of13
                                                                          45ofPageID#
                                                                               45     5198
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    14 of14
                                                                          45ofPageID#
                                                                               45     5199
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    15 of15
                                                                          45ofPageID#
                                                                               45     5200
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    16 of16
                                                                          45ofPageID#
                                                                               45     5201
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    17 of17
                                                                          45ofPageID#
                                                                               45     5202
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    18 of18
                                                                          45ofPageID#
                                                                               45     5203
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    19 of19
                                                                          45ofPageID#
                                                                               45     5204
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    20 of20
                                                                          45ofPageID#
                                                                               45     5205
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    21 of21
                                                                          45ofPageID#
                                                                               45     5206
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    22 of22
                                                                          45ofPageID#
                                                                               45     5207
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    23 of23
                                                                          45ofPageID#
                                                                               45     5208
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    24 of24
                                                                          45ofPageID#
                                                                               45     5209
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    25 of25
                                                                          45ofPageID#
                                                                               45     5210
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    26 of26
                                                                          45ofPageID#
                                                                               45     5211
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    27 of27
                                                                          45ofPageID#
                                                                               45     5212
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    28 of28
                                                                          45ofPageID#
                                                                               45     5213
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    29 of29
                                                                          45ofPageID#
                                                                               45     5214
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    30 of30
                                                                          45ofPageID#
                                                                               45     5215
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    31 of31
                                                                          45ofPageID#
                                                                               45     5216
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    32 of32
                                                                          45ofPageID#
                                                                               45     5217
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    33 of33
                                                                          45ofPageID#
                                                                               45     5218
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    34 of34
                                                                          45ofPageID#
                                                                               45     5219
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    35 of35
                                                                          45ofPageID#
                                                                               45     5220
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    36 of36
                                                                          45ofPageID#
                                                                               45     5221
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    37 of37
                                                                          45ofPageID#
                                                                               45     5222
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    38 of38
                                                                          45ofPageID#
                                                                               45     5223
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    39 of39
                                                                          45ofPageID#
                                                                               45     5224
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    40 of40
                                                                          45ofPageID#
                                                                               45     5225
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    41 of41
                                                                          45ofPageID#
                                                                               45     5226
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    42 of42
                                                                          45ofPageID#
                                                                               45     5227
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    43 of43
                                                                          45ofPageID#
                                                                               45     5228
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    44 of44
                                                                          45ofPageID#
                                                                               45     5229
          Case 2:18-cv-02747-MSG
Case 4:17-cv-00145-HCM-RJK        Document
                              Document 249-486-2
                                              FiledFiled 02/11/19
                                                    11/20/18   PagePage
                                                                    45 of45
                                                                          45ofPageID#
                                                                               45     5230
